               Case 2:04-cr-00465-MJP Document 44 Filed 10/19/20 Page 1 of 1




                                                        THE HONORABLE MARSHA J. PECHMAN
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 4
                               UNITED STATES DISTRICT COURT
 5                            WESTERN DISTRICT OF WASHINGTON
 6                                      AT SEATTLE

 7
     UNITED STATES OF AMERICA,                           ) No. CR04-465-MJP
 8                                                       )
                     Plaintiff,                          )
 9                                                       ) ORDER GRANTING
                v.                                       ) MOTION TO SEAL EXHIBIT
10                                                       )
     CLIFFORD COURT UPTEGROVE,                           )
11                                                       )
                     Defendant.                          )
12                                                       )
13
14          THIS MATTER has come before the Court on the motion of Clifford Uptegrove

15   to seal exhibit A (medical records) to his reply to the government’s response to his

16   motion for compassionate release. The Court has considered the motion and records in

17   this case and finds there are compelling reasons to file the exhibit under seal.

18          IT IS ORDERED that exhibit A be sealed.

19          DATED this 19th day of October 2020.

20
21                                                      ________________________________
                                                        MARSHA J. PECHMAN
22                                                      UNITED STATES DISTRICT JUDGE
23   Presented by:

24   s/ Michael Filipovic
     Federal Public Defender
25   Attorney for Clifford Uptegrove
26

                                                                     FEDERAL PUBLIC DEFENDER
       ORDER TO SEAL EXHIBIT                                            1601 Fifth Avenue, Suite 700
       (United States v. Uptegrove, CR04-465-MJP) - 1                     Seattle, Washington 98101
                                                                                     (206) 553-1100
